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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA


        v.                                                        18-cr-10450-MLW


 JONATHAN TERCERO YANES;



         JONATHAN TERCERO YANES’ RESPONSE TO GUTIERREZ MOTION (721) AND
                            GOVERNMENT REPLY (722)

       Counsel for the defendant, Jonathan Tercero Yanes, responds to co-defendants motion

seeking guidance about delivery of the Pre-Sentence Report Draft (Dkt #721) and the

government’s prompt reply to that motion (Dkt #722).

       Most urgently, counsel notes that he recently mailed a copy of the PSR to his client at

Wyatt Detention Center and believes that other counsel have previously done the same. For the

reasons below, Mr. Tercero Yanes requests this Court order that all defendants may possess

their PSR, in paper or electronic form, until the date of sentencing.

       The PSR was received at 5pm on November 10, 2021, the same day this Court denied a

Motion to Continue Sentencing (Dkt #702) filed by other defendants in this case. Counsel

immediately began to review the 64 page, 220 paragraph document and began to arrange for

interpreter assisted zoom meetings with his client. There is not time to have the entire

document translated before the November 24, 2021 deadline for objections. Consequently,

counsel reviewed the protective order and confirmed it doesn’t not prevent delivering the PSR.

Based on co-counsel’s representations that their clients already have a copy of their PSR and

because Mr. Tercero Yanes has very little time to address vast factual allegations contained in

the document, counsel sent him the English version in hopes of making zoom conferences more
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productive. Essential to this approach is that Mr. Tercero Yanes—with very limited English

capacity—be permitted long periods of time with the document to ascertain its meaning.

        Consequently, Mr. Tercero Yanes requests that this Court not disturb the status quo and

create an additional, new, post-hoc ruling that would further limit the defendant’s access to

essential material. Should this Court make such a ruling and order an alternative approach,

counsel would request this court extend the objection deadline period for 2 weeks to

accommodate the additional time necessary to explain (in Spanish) to Mr. Tercero Yanes

various, serious, factual assertions in the PSR.i

                                                                                Respectfully Submitted,

                                                                                /s/Leonard E. Milligan III
                                                                                 Leonard E. Milligan III
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                                    CERTIFICATE OF SERVICE

       I, Leonard E. Milligan III, hereby certify that this document filed through the
CM/ECF system will be sent electronically to the registered participants as identified
on the Notice of Electronic Filing and paper copies will be sent to those indicated as
non-registered participants on this date.

Date November 18, 2021                                   /s/Leonard E. Milligan III
                                                         Leonard E. Milligan III


iCounsel notes that the longstanding challenge of locating available interpreters will not become easier
with the impending Thanksgiving Holiday.
